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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

DEBRA NELSON                 §
                             §
    Plaintiff                §
                             §
vs.                          §                          C.A. No. 4:19-cv-263
                             §                          Jury Requested
SUNBEAM PRODUCTS, INC. d/b/a §
JARDEN CONSUMER SOLUTIONS §
                             §
    Defendant                §

                PLAINTIFF’S ORIGINAL COMPLAINT AGAINST
                  DEFENDANT SUNBEAM PRODUCTS, INC.
                   d/b/a JARDEN CONSUMER SOLUTIONS

         Plaintiff DEBRA NELSON respectfully submits her Complaint against

SUNBEAM PRODUCTS, INC. d/b/a JARDEN CONSUMER SOLUTIONS, and in

support thereof would show as follows:

                                           I.
                                      Introduction

         1.   This lawsuit arises from an incident in which Plaintiff suffered third degree

burns due to a dangerously defective space heater manufactured by Defendant SUNBEAM

PRODUCTS, INC. d/b/a JARDEN CONSUMER SOLUTIONS (“SUNBEAM”).

                                           II.
                                         Parties

         2.   Plaintiff, DEBRA NELSON is a Texas citizen who resides in Lamar County,

Texas.




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       3.     Defendant, SUNBEAM PRODUCTS, INC. d/b/a JARDEN CONSUMER

SOLUTIONS is a Delaware based corporation doing business in Texas. Defendant may

be served with citation and suit papers by serving same on its Registered Agent for Service,

Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company, 211

E. 7th Street, Suite 620, Austin, Texas 78701, or wherever it may be found.

                                             III.
                                         Jurisdiction

       4.     The Court has jurisdiction over the lawsuit under 28 U.S.C. §1332(a)(1)

because the Plaintiff and Defendant are citizens of different states and the amount in

controversy exceeds $75,000 excluding interests and costs. Specifically, Plaintiff would

show that she is a citizen of the State of Texas and Defendant is a corporate citizen of the

State of Delaware doing business in the State of Texas.

                                             IV.
                                            Venue

       5.     Venue is proper in this Court under 28 U.S.C. §1391(b)(2) because a

substantial part of the events and omissions giving rise to this claim occurred in this district.

                                             V.
                                    Conditions Precedent

       6.     All conditions precedent have been performed or have occurred.

                                              VI.
                                             Facts

       7.     At some point prior to January 2018, Plaintiff DEBRA NELSON purchased

the subject space heater, a Sunbeam Space Heater, Model No. SQH310, (hereinafter

referenced as “Sunbeam Heater”) from a Walmart in or near Paris, Texas.


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        7.     On or about January 30, 2018, Plaintiff DEBRA NELSON was asleep in her

mobile home with the Sunbeam Heater powered on and heating her sleeping area. In the

early morning while it was still dark, Plaintiff woke and as she was standing up, she became

light-headed and fell to the floor towards the Sunbeam Heater. As she fell to the floor, she

tipped the Sunbeam Heater over and came to rest with her back against the grill of the

Sunbeam Heater. Even though the Sunbeam Heater had tipped over, it did not turn off.

Plaintiff was immobilized for a period of time with her back pressed against the

dangerously hot surface of the Sunbeam Heater while it seared the flesh of her back causing

third degree burns and other injuries.

                                         VII.
                               Causes of Action Against
                    Defendant SUNBEAM PRODUCTS, INC., d/b/a
                         JARDEN CONSUMER SOLUTIONS

A.      Strict Liability

        8.     At all relevant times, Defendant SUNBEAM was in the business of

designing, manufacturing, and marketing space heaters and did in fact design, manufacture

and market the Sunbeam Heater made the basis of this lawsuit. Defendant SUNBEAM is

the manufacturer of the subject space heater within the meaning of Tex. Civ. Prac. & Rem.

Code §82.001(4) and is liable as stated herein for the injuries suffered by Plaintiff as a

result of defects in the Sunbeam Heater.

        9.     The Sunbeam Heater and/or its component parts that caused Plaintiff’s

injuries were defective and unreasonably dangerous by reason of defective design,

manufacture and marketing, which defective and unreasonably dangerous conditions



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exposed Plaintiff and the public in general to an unreasonable risk of harm.

        10.   The Sunbeam Heater was defective and unreasonably dangerous as that term

is defined in law to persons who could reasonably be expected to use the subject space

heater, including Plaintiff. Said defects were present when the space heater was sold,

marketed, and/or placed into the stream of commerce.               Accordingly, Defendant

SUNBEAM is liable to Plaintiff under the doctrine of strict products liability in tort for

Plaintiff’s injuries produced by the defects in the subject space heater.

        11.   Each defect in the subject space heater is a defect for which there is a safer

alternative design that is both technologically and economically feasible and that, if

incorporated into the subject space heater, would not have impaired its utility and would

have reduced or eliminated the risks and hazards associated with the product, along with

the injuries suffered by Plaintiff.

        12.   The Sunbeam Heater was also defective in that Defendant SUNBEAM

manufactured the subject space in a manner that deviated in construction or quality from

specifications or planned output so as to render the space heater unreasonably dangerous.

        13.   Defendant SUNBEAM marketed the space heater in a defective manner in

that SUNBEAM failed to effectively warn consumers of the unreasonably dangerous

properties of this space heater and methods by which consumers, such as Plaintiff, could

guard against and/or mitigate such injuries and damages.

B.      Breach of Warranty

        14.   Plaintiff incorporates herein all of the foregoing allegations and contentions.

        15.   Defendant SUNBEAM, by and through the sale of the space heater described


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above, expressly and impliedly warranted to the public generally, and to the Plaintiff

specifically, that the subject space heater was fit for the purposes for which it was intended.

Plaintiff relied on Defendant SUNBEAM’s express and implied warranties.

        16.   Contrary to the warranties, the subject space heater was not fit for its intended

uses, rendering the subject space heater unreasonably dangerous. Defendant SUNBEAM

breached the express and implied warranties because of the subject space heater’s failure

and defective nature, and because of the improper marketing involving Defendant

SUNBEAM’s failure to warn of the space heater’s dangers or defects. Defendant’s breach

of warranties and the above-mentioned defects rendered the subject space heater

unreasonably dangerous and caused Plaintiff to suffer injuries and damages.

C.      Negligence

        17.   Plaintiff incorporates herein all of the foregoing allegations and contentions.

        18.   Defendant SUNBEAM owed the Plaintiff, as well as the public at large, the

duty of reasonable care in the designing, manufacturing and marketing of the Sunbeam

Heater. Defendant SUNBEAM knew, or in the exercise of ordinary care should have

known, that the Sunbeam Heater was defective and unreasonably dangerous to those

persons likely to use the product for the purposes and in the manner for which it was

intended to be used. Plaintiff would show that the incident in question and her resulting

injuries and damages were brought about and caused to occur due to the negligence and

carelessness of the Defendant SUNBEAM in some one or more of the following ways, to-

wit:




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       (1)    In failing to design its products in a manner that made the Sunbeam Heater
              reasonably safe for its intended use;

       (2)    In failing to manufacture its products in a manner that made the Sunbeam
              Heater reasonably safe for its intended use;

       (3)    In failing to market its products in a manner that made the Sunbeam Heater
              reasonably safe for its intended use;

       (4)    In failing to give adequate or proper warning or instructions regarding the
              Sunbeam Heater; and

       (5)    In failing to recall or timely recall the Sunbeam Heater or make appropriate
              post-marketing efforts to prevent incidents such as the incident made the
              basis of this lawsuit.

As set forth above, Defendant SUNBEAM failed to act as an ordinary prudent

manufacturer in designing, manufacturing and marketing the Sunbeam Heater and thus

violated its duties to Plaintiff and causing her to suffer injuries and damages.

                                          VII.
                                       CAUSATION

       22.    Plaintiff incorporates herein all of the foregoing allegations and contentions.

       23.    Defendant SUNBEAM’s conduct (described above under the causes of

action of strict products liability, breach of warranty, negligence, and any other liability

theory included in Plaintiff’s allegation) was a producing and/or proximate cause of

Plaintiff’s injuries, as those terms are applied and understood under the laws of the State

of Texas.

                                          VIII.
                                         Damages

       24.     Plaintiff seeks actual damages against Defendant for the injuries that she

suffered as a result of the incident and defective product made the basis of this lawsuit,


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including medical care expenses, loss of earning capacity, physical impairment, physical

pain, mental anguish, and disfigurement, all of which damages Plaintiff has suffered in the

past and will continue to suffer into the future.

                                             X.
                                   Request for Jury Trial

       25.    Plaintiff requests a trial by jury.



       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that she have

judgment against the Defendant, for her damages as follows:

       A. Compensatory damages of medical care expenses, loss of earning capacity,
          physical impairment, physical pain, mental anguish, and disfigurement against
          Defendant, as appropriate and allowed by law;

       B. Plaintiff further sues for pre-judgment interest and costs of court as allowed by
          law; and

       C. For such other and further relief, both general and special, legal and equitable,
          as she may show herself justly entitled.




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                                    Respectfully Submitted,
                                    THE CALLAHAN LAW FIRM


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